Case 0:11-cv-62040-WPD Document 195 Entered on FLSD Docket 03/21/2013 Page 1 of 10



                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                               Case No. 11-CV-62040-Dimitrouleas/Snow

   TEC SERV, LLC, a Florida Limited
   Liability Company, and JOHN R.
   TOSCANO, INC., a Florida corporation,

                 Plaintiffs,
   v.
   MICHAEL ALAN CRABB, individually,
   and A DESIGN AT SUNNINGHILL, INC,
   a Florida corporation,

                 Defendants
                                               /

   MICHAEL ALAN CRABB
                 Counter Plaintiff
   v.

   TEC SERV, LLC, JOHN R. TOSCANO, INC.

                 Counter Defendants

   JOHN TOSCANO, MARILYN TOSCANO,

                 Third Party Defendants.
                                               /

               DEFENDANTS’ MOTION TO STRIKE DECLARATION
             AND OTHER EXHIBITS PREJUDICIALLY FILED OUT OF
          TIME PURSUANT TO LOCAL RULES OR, IN THE ALTERNATIVE,
         MOTION FOR LEAVE FOR TIME TO PREPARE AND FILE SUR-REPLY

          Defendants/Counter-Plaintiffs Michael Alan Crabb and A Design At Sunninghill, Inc.

   (together, “Mr. Crabb”), by undersigned counsel and pursuant to Local Rule 7.1(c), L.R. S.D.

   Fla., hereby move the Court for entry of an Order striking the Declaration of James Stanford

   Wilson (the “Wilson Declaration,” DE #194-1) and Exhibits 3, 4, and 5 (the “Untimely

   Exhibits,” DE ## 194-11, 192-12, 194-13) of the Motion for Sanctions filed by Plaintiffs/
Case 0:11-cv-62040-WPD Document 195 Entered on FLSD Docket 03/21/2013 Page 2 of 10
                                                        Case No.: 11-CV-62040-Dimitrouleas/Snow

   Counter-Defendants/Third-Party Defendants TEC Serv, LLC, John R. Toscano, Inc., and John

   and Marilyn Toscano (collectively, the “Toscanos”).

          Although the Toscanos use the Wilson Declaration and the Untimely Exhibits

   purportedly in support of the arguments made in their Motion for Sanctions, the Toscanos did not

   submit these materials along with that Motion. Rather, the Toscanos decided to wait until filing

   their Reply, less than forty-eight hours before the scheduled hearing on the Motion, before

   submitting the Wilson Declaration and the Untimely Exhibits. Because the Toscanos’ attempts

   violate Local Rule 7.1(c) and unfairly prejudice Mr. Crabb by preventing him from responding in

   writing to the claims made in the Wilson Declaration and the Untimely Exhibits, those materials

   should be stricken. See Managed Care Solutions, Inc. v. Essent Healthcare, Inc., 736 F. Supp.2d

   1317, 1321 n.6 (S.D. Fla. 2010) (striking an affidavit not timely submitted in support of a motion

   for sanctions based on alleged spoliation for these exact reasons).

          In the alternative, Mr. Crabb moves the Court for leave – and sufficient time – to prepare

   and file a sur-reply and supporting declarations and evidentiary submissions to rebut the contents

   of the late-filed Wilson Declaration and Untimely Exhibits.

                                           BACKGROUND

          The Toscanos filed their Motion for Sanctions on March 8, 2013. Although the Motion

   for Sanction is rife with statements concerning the “more than 130,000 files containing well over

   24 Gigabytes of data” that the Toscanos claim Mr. Crabb wrongfully deleted, altered, or

   otherwise rendered inaccessible, the Toscanos did not submit any sworn statement in support of

   these claims. (DE #181, at p. 5.) Such failure is particularly noteworthy given the fact that the

   Toscanos clearly could have done so had they chosen to. Indeed, in the Motion itself, the

   Toscanos state that they had “turned over the Computers for inspection to their own forensic



                                                    2
Case 0:11-cv-62040-WPD Document 195 Entered on FLSD Docket 03/21/2013 Page 3 of 10
                                                          Case No.: 11-CV-62040-Dimitrouleas/Snow

   experts, NetEvidence, Inc., who have confirmed that the allocated space of the Asus laptop

   computer contains virtually nothing.” (Id. at p. 12.) As the Toscanos elaborate, “According to

   NetEvidence, Crabb has deleted 133,197 files from the Asus laptop computer alone, which total

   approximately 2.4 Gigabytes of data.” Id. at p. 13.) What the Toscanos did not do, however, is

   submit any evidence, such as a sworn statement of their NetEvidence representative, Mr. Wilson,

   in support of their Motion for Sanctions.

           At the Toscanos’ request, the Court ordered Mr. Crabb to file an expedited Opposition to

   the Motion for Sanctions. For this reason, Mr. Crabb’s lead counsel returned early from a

   business trip to Moscow and, working with Mr. Crabb and his primary co-counsel (who were

   both also out of the State at the time), managed to file the Opposition by the Court’s original

   deadline of Friday, March 15.1 In support of his Opposition, and although he had had just one

   week to do so, Mr. Crabb submitted not only his own sworn declaration, but also the sworn

   declaration of a computer expert, Gabriel Campos.               (See DE ##189-1, 189-2.)          Those

   declarations provide persuasive evidentiary support for Mr. Crabb’s arguments in opposition to

   the Toscanos’ Motion for Sanctions.

           Just before Noon on March 20, the Toscanos filed their Reply in support of their Motion

   for Sanctions. Incredibly, along with their Reply the Toscanos submitted, for the first time, a 5-

   ½ page, 29-paragraph declaration from James Wilson, of NetEvidence, and a quarter-inch stack

   of other materials (the Untimely Exhibits) in putative support of the affirmative arguments they

   had made in their Motion for Sanctions. There is no reason why the Toscanos were not able to

   file these materials nearly two weeks earlier, along with their Motion for Sanctions, as they

   should have done. The untimely filing of these materials violates the Local Rules and unfairly


           1
                    A corrected opposition, cleaning up various typographical errors and the like, was filed
   late in the evening of Sunday, March 17.

                                                      3
Case 0:11-cv-62040-WPD Document 195 Entered on FLSD Docket 03/21/2013 Page 4 of 10
                                                         Case No.: 11-CV-62040-Dimitrouleas/Snow

   prejudices Mr. Crabb, who does not have time to prepare and submit a further declaration

   refuting Mr. Wilson’s claims and the contents of the Untimely Exhibits before the hearing set for

   March 22 at 10:00 a.m. Thus, those materials should be stricken or, in the alternative, Mr. Crabb

   should be given leave and time to prepare and file a sur-reply and supporting evidentiary

   submissions to address these new materials.

                                               ARGUMENT

             I.     The Wilson Declaration and the Untimely Exhibits Should Be Stricken

             Local Rule 7.1(c) is specifically designed to prevent situations like the one the Toscanos

   have created here. Pursuant to that Rule,

             All materials in support of any motion, response, or reply, including
             affidavits and declarations, shall be served with the filing.

   (Emphases added.) Significantly, this Rule has been applied to circumstances just like the ones

   at bar.

             In Managed Care Solutions, Inc. v. Essent Healthcare, Inc., 736 F. Supp.2d 1317 (S.D.

   Fla. 2010), the plaintiff filed a motion for sanctions and sought (as here) the entry of a default

   judgment due to the defendant’s alleged spoliation of evidence. See id. at 1318. In that case, the

   plaintiff submitted various exhibits with its motion, including (unlike here) a sworn affidavit

   concerning some of the relevant facts. See id. at 1319 (referencing the Affidavit of Steven

   Wylie, which was submitted as Exhibit 7 to the motion). The defendant then submitted its

   opposition to the motion, and the plaintiff filed its reply in support. See id. at 1321. Some

   weeks later, the plaintiff filed an additional declaration in support of its motion. See id. at 1321

   n.6.

             After considering the contents of the declaration, the Court concluded that the declaration

   related to issues “which were addressed in the motion for sanctions.” Id. As such, under the


                                                     4
Case 0:11-cv-62040-WPD Document 195 Entered on FLSD Docket 03/21/2013 Page 5 of 10
                                                        Case No.: 11-CV-62040-Dimitrouleas/Snow

   Local Rules, “the plaintiff should have filed the declaration at the time it filed its motion for

   sanctions.” Id. (citing to Local Rule 7.1(c)). The Court also noted that because the declaration

   was filed after the close of briefing, “there was no opportunity for further briefing regarding the

   motion” to which the declaration related and the Court’s consideration of the declaration would

   be “prejudicial” to the defendant. Id. (internal alterations and quotations omitted). Based on

   these circumstances, the Court concluded that it “w[ould] not consider this untimely filed

   declaration.” Id.; see also Williams v. R.W. Cannon, Inc., 657 F. Supp.2d 1302, 1320 (S.D. Fla.

   2009) (striking an affidavit filed in support of a motion after the close of briefing because

   “[t]here is no opportunity for further briefing regarding the motion to which this affidavit relates;

   and, therefore, it would both be prejudicial to Plaintiff and ill-serve the interests of judicial

   economy to permit additional briefing.”).

          The same circumstances exist here, and thus the same result should obtain. Like the late-

   filed declaration in Managed Care Solutions, here, the contents of the Wilson Declaration and the

   Untimely Exhibits relate entirely to the affirmative arguments made in the Motion for Sanctions:

      •   The entirety of the Wilson Declaration expounds on the Toscanos’ claims that Mr.

          Crabb wrongfully deleted or altered “more than 130,000 files containing well over

          24 Gigabytes of data.” Mot. for Sanctions, DE #181, at p. 5; see also id. at p. 13

          (“According to NetEvidence, Crabb has deleted 133,197 files from the Asus

          laptop computer alone, which total approximately 2.4 Gigabytes of data.”). Such

          alleged deletion or alteration is central to the Toscanos’ spoliation claims; indeed,

          such deletion or alteration (which is all that the Wilson Declaration addresses) is

          the core of the Toscanos’ affirmative spoliation arguments.




                                                    5
Case 0:11-cv-62040-WPD Document 195 Entered on FLSD Docket 03/21/2013 Page 6 of 10
                                                              Case No.: 11-CV-62040-Dimitrouleas/Snow


       •   The Untimely Exhibits are documents that the Toscanos “have obtained from

           third parties but which Crabb has not produced.” Mot. for Sanctions, at p.7. The

           Toscanos submit these materials to show that these materials existed at one time

           but were allegedly deleted from Mr. Crabb’s ASUS laptop and as alleged “further

           evidence” of Mr. Crabb’s “bad faith.” Id. Of course, these factors, like the thrust

           of the Wilson Declaration, are part of the Toscanos’ affirmative burden in making

           their spoliation claims in the first place. See Managed Care Solutions, 736 F.

           Supp.2d at 1322 (observing that the first element in a spoliation claim is that “the

           missing evidence existed at one time”); id. (“Even if all three elements are met, a

           party’s failure to preserve evidence rises to the level of sanctionable conduct only

           where the absence of that evidence is predicated on bad faith.”).

           Accordingly, the Wilson Declaration and the Untimely Exhibits relate entirely to the

   Toscanos’ affirmative spoliation claims, not to a rebuttal of the arguments Mr. Crabb makes in

   his Opposition. As such, pursuant to the clear terms of this Court’s Local Rules,2 as well as

   general principles of equity and fairness, the Toscanos were obligated to submit these materials

   along with their Motion for Sanctions. Yet, like the party moving for spoliation-based sanctions

   in Managed Care Solutions, the Toscanos failed to do so.3 The obvious implication is that the

   Toscanos chose not to do so, instead seeking to sandbag Mr. Crabb with these materials at the

   proverbial eleventh hour. Such guerrilla tactics should not be countenanced, and the Wilson


           2
                    See Rule 7.1(c), L.R. S.D. Fla. (stating that a reply “shall be strictly limited to rebuttal of
   matters raised in the memorandum in opposition without reargument of matters covered in the movant’s
   initial memorandum of law”).
           3
                   Because the Declaration of Marilyn Toscano (DE #194-9) purportedly (but
   unsuccessfully) rebuts the argument that Mr. Crabb made in his Opposition concerning the timing of
   when he first began contemplating litigation, Mr. Crabb is not seeking to strike that Declaration. See
   Local Rule 7.1(c) (allowing materials truly in support of a reply argument to be filed with the reply).

                                                          6
Case 0:11-cv-62040-WPD Document 195 Entered on FLSD Docket 03/21/2013 Page 7 of 10
                                                        Case No.: 11-CV-62040-Dimitrouleas/Snow

   Declaration and the Untimely Exhibits should be stricken. See Local Rule 7.1(c); Managed Care

   Solutions, 736 F. Supp.2d at 1321 n.6; cf. Willis v. DHL Global Customer Solutions (USA), Inc.,

   2011 WL 4737909, at *3 (S.D. Fla. Oct. 7, 2011) (“Pursuant to Local Rule 7.1(c), a ‘reply

   memorandum shall be strictly limited to rebuttal of matters raised in the memorandum in

   opposition. Judges in this district, therefore, have repeatedly rejected attempts by parties to raise

   new arguments in reply memoranda.”).

          II.     In the Alternative, Mr. Crabb Should Be Given Leave – and Sufficient Time
                  – to Prepare and File a Sur-Reply and Supporting Evidentiary Submissions

          In the alternative, should the Court not decide to strike the Toscanos’ untimely

   evidentiary submissions, the Court should give Mr. Crabb leave and sufficient time to prepare

   and file a sur-reply and supporting declarations and evidentiary submissions to rebut the contents

   of the Wilson Declaration and the Untimely Submissions.

          Although Mr. Crabb and his lawyers and computer forensic examiner, Gabriel Campos,

   have had little time (only one day) to review and digest the contents of the Wilson Declaration,

   there are a number of claims and assertions therein that Mr. Crabb reasonably believes could be

   refuted if Mr. Crabb and his representatives had sufficient time (five days) to do so.

          For example, Mr. Campos could assess and likely refute Mr. Wilson’s assertion that Mr.

   Crabb intentionally accessed and sent emails to and from his TEC Serv email address or the

   STEELSHIELDCOM and ENVIROSTEELCOM accounts after the Toscanos improperly

   terminated him (or whether, for example, the log-files are showing email activity solely as a

   result of the system’s automated process of communicating with the email server to determine if

   there are emails to send or receive). See Wilson Decl., at ¶¶ 19-20.

          In addition, Mr. Wilson suggests that a “defragging” program was intentionally run to

   make it more difficult to recover files. Given sufficient time, Mr. Campos could determine if the


                                                    7
Case 0:11-cv-62040-WPD Document 195 Entered on FLSD Docket 03/21/2013 Page 8 of 10
                                                        Case No.: 11-CV-62040-Dimitrouleas/Snow

   defragging program runs automatically, either periodically or merely upon logging into the

   computer. See id. at ¶ 24.

          Further, Mr. Wilson suggests that the defragging program could have destroyed

   additional data.   Mr. Campos has another copy of the ASUS computer hard drive, from

   September 2011, which could be compared to the current file to prove that no such data was

   destroyed by any defragging program. See id. at ¶ 26.

          Moreover, the Toscanos assert that certain “.lnk” files were used to export data from the

   ASUS computer. That is not true. The .lnk files merely point to other files. For example, Mr.

   Campos could analyze the “Lawsuit vs. TEC Serv.LNK” folder to determine when it was in fact

   created and to what it links, for this folder may well relate to an earlier lawsuit another company

   had brought against TEC Serv, in which Mr. Crabb was intimately involved in the defense. See

   id. at ¶ 16. Given time, Mr. Campos could explore the “.lnk” files discussed in the Wilson

   Declaration to determine when those were actually created and what they were doing. See id. at

   ¶¶ 12-14.

          In addition, Mr. Campos could determine whether, when the “Outlook.pst” and “TEC

   Serv LLC – TS.pst” files were “last written” on dates following Mr. Crabb’s improper

   termination, as Mr. Wilson claims, the files were actually changed at all or whether (as likely)

   this was simply an automatic computer process. See id. at ¶¶ 28-29. These are just some of the

   examples of what Mr. Campos could accomplish if given sufficient time (Messrs. Campos and

   Crabb believe five days would be sufficient) to do so.4




          4
                   Mr. Crabb could also use this time to prepare an additional declaration from himself,
   refuting the contents of the Untimely Exhibits, such as how Exhibit 3 is not a TEC Serv proprietary
   document and how neither Exhibit 4 nor Exhibit 5 supports any claim that Mr. Crabb was “pitching
   work” for Hasson Electric, or otherwise affiliated with the company.

                                                    8
Case 0:11-cv-62040-WPD Document 195 Entered on FLSD Docket 03/21/2013 Page 9 of 10
                                                        Case No.: 11-CV-62040-Dimitrouleas/Snow

          For these reasons, if the Court decides now to strike the Toscanos’ untimely evidentiary

   submissions, the Court should give Mr. Crabb leave and five days to prepare and file a sur-reply

   and supporting declarations and evidentiary submissions to rebut the contents of the Wilson

   Declaration and the Untimely Submissions.

                                           CONCLUSION

          For all of the foregoing reasons, the Court should enter an Order granting this Motion and

   striking the Wilson Declaration and the Untimely Exhibits. In the alternative, the Court should

   enter an Order granting this Motion and giving Mr. Crabb leave and five days to prepare and file

   a sur-reply and supporting declarations and evidentiary submissions to rebut the contents of the

   Toscanos’ late-filed submissions.

                                   Local Rule 7.1.A.3 Certification

          Pursuant to Local Rule 7.1(a)(3), counsel for Mr. Crabb has attempted to confer with

   counsel for the Toscanos to resolve these issues raised in this Motion without the need for Court

   intervention, but has not been able yet to do so. In light of the hearing tomorrow morning at

   10:00 a.m., counsel is filing this Motion now and will immediately inform the Court if counsel

   for Toscanos’ counsel consents to the relief requested herein.



                                                  Respectfully submitted,

                                                  BILZIN SUMBERG BAENA
                                                  PRICE & AXELROD LLP
                                                  Attorneys for the Defendants
                                                  1450 Brickell Avenue, 23rd Floor
                                                  Miami, Florida 33131-3456
                                                  Telephone: (305) 374-7580
                                                  Facsimile: (305) 374-7593

                                            By:       /s/ Jeffrey W. Gutchess
                                                  JEFFREY W. GUTCHESS
                                                  Florida Bar No. 702641


                                                    9
Case 0:11-cv-62040-WPD Document 195 Entered on FLSD Docket 03/21/2013 Page 10 of 10
                                                        Case No.: 11-CV-62040-Dimitrouleas/Snow


                                                 jgutchess@bilzin.com

                                                 MONTERO WOLKOV LLP
                                                 Co-counsel for the Defendants
                                                 Four Seasons Tower
                                                 1441 Brickell Avenue, 15th Floor
                                                 Miami, Florida 33131
                                                 Telephone: (305) 297-1878
                                                 Facsimile: (888) 788-2341

                                           By: /s/ Benjamin Wolkov_________
                                              BENJAMIN WOLKOV
                                              Florida Bar No. 466379
                                              bwolkov@monterowolkov.com


                                                 MURAI, WALD, BIONDO
                                                 & MORENO, P.A.
                                                 Co-Counsel for Defendants
                                                 1200 Ponce de Leon Boulevard
                                                 Coral Gables, FL 33134
                                                 Tel: (305) 444-0101
                                                 Fax: (305) 444-0174


                                           By:       /s/ Allen P. Pegg          .
                                                 ALLEN P. PEGG
                                                 Florida Bar No. 597821
                                                 apegg@mwbm.com

                                  CERTIFICATE OF SERVICE

           I hereby certify that on March 21, 2013, I electronically filed the foregoing document

    with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being

    served this day on counsel for Plaintiffs via transmission of Notices of Electronic Filing

    generated by CM/ECF.


                                                         /s/   Allen P. Pegg.




                                                   10
